Case 3:10-Cv-01962-SRU Document 1 Filed 12/13/10 Page 1 of 22

UNETED STATES DlSTRlCT COURT

 

EJ|STR!CT OF CONNECTICUT .
JERROLD NEETCOFF AND : CIVIL ACTION NO.
BARBARA NEETCOFF
Piaintitfs
V.

GC SERV]CES LINIETED PARTNERSH|F.’

oerendam § DECEMBER q 2010

 

NOTICE OF REN|OVAL

PLEASE TAKE NOTICE THAT, pursuant to 28 U.S.C. 1331, 1441 and 1446,
the defendant GC Servioes Limited Partnersnip, (“E)efendant”), through its
undersigned counsei, Zeides, Needle & Cooper, P.C., hereby gives notice of
removal of this case to this Court from the Conneoticut Superior Court for the
Judicial E)istriot of Litchfield at L§tchfield in Which this action is now pending The
Defendant appears solely for the purpose of removal and for no other purpose,
reserving all defenses available to it. ln support of this petition, the Detendant
represents as follows:

1. An action wes commenced against the Defendent in the Superior
Court for the State of Conneoticut in and for the Judicial Distnot of Litoht"le|d at

Litoht"le|d, entitled Jerrofd and Berbara l\/leteoff v. GC Services Limited Partnershlp,

Case 3:10-cv-01962-SRU Document 1 Filed 12/13/10 Page 2 of 22

bearing a return date of Jacuary ii, 2011. A copy of the summons and complaint
received by Defendant is attached hereto as Exhibit A.

2. The complaint is dated chernber 16, 2010. The complaint was
served upon the Defendant's statutory agent for service, CT Corporation, on
|\lovember ‘|7, 2018 Removai cf this action is therefore timely under 28 U.S.C. §
i446(b). `l`c the best of Defendant’s knowledge there have been no other motions
or papers filed With the Superior Ccurt.

3. ln the complaint in the above~described action, Plaintiff has claimed
that Defendant violated the Fair [)ebt Co||ection Practices Act (“FDCPA”), 15 U.S.C.
§ 1692.

4 l ~--This case is removable pursuant to 28 U.S.C. § 1441(a) and (b), since
the Plaintiff’s complaint alleges a violation of federal iaw.

5. The case is removable pursuant to 28 U.S,C. § 144i(a) and (b) since
the United States District Court has federal question jurisdiction ever this action
pursuant to 28 U.S.C. § 1331.

6. As required by 28 U.S.C. § 1448(d), the Defendant vvi|l give notice of
the filing of this notice to the P|aintifi and to the clerk of the Superior Court in and for
the Judicial District ci thchfieid at Litciifield, vvhere the action is now pending A
copy of the Notice to State Court of Fiiing of Notice of Remova| is attached as

Exhibit B.

Case 3:10-cv-01962-SRU Document 1 Filed 12/13/10 Page 3 of 22

VVHEREFORE, the Defendant respectfully requests that the above action now
pending against it in the Superior Court of Connecticut, Judicial District of i_itchfield

at Litchfieid, be removed therefrom to this Court.

DEFENDANT GC SERVICES
LIMETED PAR“FNERSH!P

'Jonaihan p. Eiiiot (cic§rez) '

ZEE.DES, NEEDLE & COOPER, P.C.
1000 Lafayette Boulevard

P.O. Box 1740

Bridgeport, CT 0680‘1-1740

`l`el: (203) 333-9441

Fax: (203) 333-1489

Ernail'. jel|iot@znciaw.corn

its Attorneys

Case 3:10-cv-01962-SRU Document 1 Filed 12/13/10 Page 4 of 22

CERTlFICATlON OF SERVICE

l hereby certify that on December/] , 2010, a copy of foregoing Notice of
Removai Was filed With the court and Was sent by U.S. mail to:
Theresa Rose DeGray, Atiorney
Coiisumer l_egal Services, LLC
29 Soundview Road

Suite 1 t 8
Guilford, CT 06437

Dated at Bridgeport, Connecticut on thisl??y§y of December , 2010.

;,\M

Jonathan D. Ei|iot

Case 3:10-cv-01962-SRU Document 1 Filed 12/13/10 Page 5 of 22

 

SHMMONS m CML Q_ase 3:10-cv-01982-§»»1|$£}!!'fE CE)FO&BWTJICLE]|ed 12/13/10 ' Page 6 of 22

io- - , 1 See e 2 for instructions

c.Gc.:§ § §Re;t~s?iso_gsi.aw, 51-349. 51.350, sz. 8 U PERIOR 00 U RT pag

453, 52.43_ sz-ass‘ P‘s. sees 3-1 through 3¢21_ wwwjud.ct.gov

n c .. .. . - . - . » TO: Jany proper other; EBY AUTHOR|TY CJF THE
o);$ii;?$n?§;;i;`hi;g§izi:§t§gest or property in demand, not including interest and STM.E OF CONNECT;CUT` you are hereby

"X" if amountl legal interest or property in demand, not including interest and Comma"ded w make due and legal S€WZC€ ftl

costs is $2 500 m more this Surnn‘ions and attached Ccmpiaini.

.,X., if cia-ming other relief in addition to or in lieu ot money or damages

l:]

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

courses or com assumes wm and other papers shall be tried rivami)er, sweet town and zip code T€lephvne number of den wm m flew be a' iuesdavl
rc.G.S, § § 51¢:»’46, srosc) item area wore
15 west street Lirchneio, acres 850_567_[,335 gm 11 ,Zli;:
_iudicja| magid GJL _ nt'{"i"own in which wn`t is rstumabie) (C_C;»F.SN § § 51~345, 51» Case type code {See list on page 21
g blessing Sessicn Nl.xmber; L}TCHF|E{.D N|ejor; M Mjno;; go
Forthe Piaintiffls} piease entertlie appearance ct':
blame and address of oncrney. law firm or plaintiff if se|i~represenled (Numoer. street town and zip Jlti'is number no be mccarthy attorney oniy,i
Consumer Le§ai Services, LLC, 29, Soundview Rd., Ste 11 B., Guiiford, 06437 433221
Teiephone number (wiih area code) Srgnature of PlainW {ir seif-represen:ed)
203458-8206
mmer of P;al"“ff$: 1 Nllmb€f of D€i'@iidafltsf 1 l-`-orm .iD-CV*Z attached for additional parties
Parties Name (Last, First, Midd!e initia.i) and Addra£s of E.ach party (Number; Streef; P.O. Box; To wn; $tate; Zz°p; Counr:'y, ifnot USA}
Fi§$t_ umw Metcoff, derrold and Barbara P-°i
woman A¢dm$: 14 Deer erge Road; Roxbury; C'I`; 06783
Addjti.°n.al Na me: P.oz
Piamtitf Addmss:
First Name: GC Services himited Partnership 9"5°
D@F*‘-`ndan* Mdmm 6330 Giu¥fton; TX; ??081
Aduiuenai mm D"S‘
Deferidant Addres$:
Aooitionai Name: 5'52
Dmndant Add!&$$:
;:;;iti°nai Narne' D‘SS
ndant Addre-ss:

 

 

 

 

Nc)tice to Each Defendant

‘i, YGU ARE BE|NG SUED. Tbis paper is a Surnmcns in a lawsuit The complaint attached to these papers states the claims that each piaintiff is

making against you in this lawsuit

2. `l’o be notiiied of further proceedings you or your attorney must tile a term called an "Appearance" with the clerk of the above-named Court attire

C‘curt address on or before the second day after the above Returo bare The Return Date is nor a hearing date You do not have to come to court on the
Return Date unless you receive a separate notice telling you to come to court

3. if you or your attorney do not tile a written ”Appearance" form on time. ajudgment may be entered against you by default The "Appearance" form ma§,f be
obtained at the Court address above or at Wjudci. gov under “Court Forms."

4. ii you believe that you have insurance that may cover tno_ claim that is being made against you in this lawsuit you should immediateiy contact your
insurance representative Other action you may have to take is described in the Connectrcut Practice Book which may be found in a superior court lanr library cr

orr-line at vmw.jud,ct.gcv under"Coun Ruies." '

5. ii you have questions about tire Summcns and Compiaint, you sbcuid taiic to an attorney quickly The Clerk of Court is not allowed to give advice on iegai
questions

 

 

 

 

 

 

 

 

 

Si§ned rsan and '%'proper box) L)S_jcs;ommiss(i§>ner cit the blame of Person Signing al i.eit Date signed
u `or o rt .
ns§§;mcz§a Theresa Rose Nickois DeGray
if this Sumrnons is signed by a Cierl<:
c.The signing has been done so that the Plointiifis) wi!l not co denied access to me courts ' me gang
ci. lt is the responsibility of tire Piainiifi(s) to see that service is made in the manner provided by iaw. '
c, The Cien< is not permitted to give any legal advice in connection with any lawsuit
d. the Cieri< signing this Summons et the request of the Piairititf(si is not responsible in any way for any errors or
omissions in the Surnrnons, any allegations contained in the Comp|aint, cr the service of the Summons or Compiaint.
‘ ATTEST:
l oermyi have read and $igned (Seh‘~i?epresenred Piar'nti#} Date RUE copy
understand the above:
blame and address ct person recognized to prosecute in the amount of 5250 J EPH MUSBMEC
l . l
Ernest L. Nickols, $`>r.1 11 Beveriy Piace, Bridgeport, CT 05610 q°,_’," ECTICUY arises 1

 

 

 

 

 

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Signed {Oi‘i‘.iclaf taking g ` a ce,' 'Ix"' proper p§) Ccmmissicner of the page NTy
` ij g l i`z,@/B wang c:§rk _ [ _

 

Cose 3:1O-CV-01962-SRU Document 1 Filed 12/13/10 Page 7 of 22

RETURN DATE: JMJARY 11, 2010 '- SUPERIOR COURT
METCOFF, JERROLD AND BARBARA ? I. D. OF LITCHFI}ZLD
V. AT LITCHFIELD
GC `SERVICES LIMITED PARTNERSHIP : NOVEMBER § 2910
COMPLAINT w
FIRST COUN'I
1. The Plaintiffs seek relief pursuant to the Cotmocticut Gcnorai Statutcs (C.G.S. § 363-600

§§ §§:_g., § 363»645 §t_ §§g. and § 42-1103§_1; §_qg_.) and the Pair cht Coilcction Practicos
Act (15 U.S.C. § 1692 §§ §§g.).

The Court has jurisdiction pursuant to 15 U.S.C. § 1692K and 28 U.S.C § § 1331 and
1367.

”i."_ne Plaintiffs arc “consumor debtors” and/or “consumcrs” ancifor “pcrsons” as defined by
the Connccticut Gcncral Statutcs {C.G.S. § 363»8{){)_§§ §og. and § 42~11021(3)) and!or the
Fair cht Coltection Practices Act (15 U.S.C. § 1692 ct §§g.).

The Dofcndcnt has a business address of GC Scrviccs Liroitod Parmcrship, 633(} Gulfton,
Houston, Tcxas= 7?'081; the Dcfcndant is a “dcbt collector” as defined by the Fajr cht
Collcction Practices Act (15 U.S.C. § 1692 §§ §_cg.) and a “consumor collection agoncy”
and/or c “person” as defined by the Connecticut Gcncra.`i Statutes (C.G.S. § 36a-800_§_g
§g_g. m § 42-;10&(3))_

At all times relevant heroin¢ the Dcfcndant has been engaged in thc trade or commerce of
providing debt collection services in the Statc of Conncctiout.

On Novcrnbcr 1'7, 2009, the Dofcndant lott a recorded voice message on the Plaintii`fs’
home telephone voice mail; a copy of Which is attached hereto in audio format as Exhi`oit
A; and a copy of Which is attached hereto as a written transcription as Exhibit B.

Case 3:1O-CV-01962-SRU Document 1 Filed 12/13/10 Page 8 of 22

?.

`iG.

11.

12.

13.

14,

15.

Said recording stated, “This is (gerbied) calling from GC Services here at my offices in
}ackscnviile, Floride, a debt collection agency Need you to give me a call upon

receiving this message Vei'y important (Garbied). Cail me at 3’?7-71()~8061, ext. 7497.
It isimportant. Theni< you.”

111 the recording the Defendant stems that the Defendant “needs” the Plaintiif$ to call the
Defenciant “upon receiving this message Very important-” The Defen<iant is attempting
to create a false sense of urgency, in violation of 15 U.S.C. § 1692e.

in the recording2 the Defendant failed to disciose that they are enempting to collect a
debt, in violation of '£5 U.S-C. § 1692e(1i).

Any and ali of the Defendant’s acts, or omissions to act, averred in this complaint are
harassingg oppressive unfair, deceptive and;’or unconscionabie.

Any and ali of the Defendant’s acts, or omissions to act, averred in ihis complaint caused
actual damage and/or ascertainable ioss to the Pieintifi`s.

Ail of the Defendent*s acts,. or omissions to act, averred in this compiaint caused
intentional infliction of emotional distress to the Piaintiffs.

Ail ofthe Defendant’s acts, or omissions to ac“£, averred in this complaint caused
negligent infliction of emotionai distress to the Pieintiffs.

The Defendant’s acts, cr omissions to ect, violated the Ccnnecticui General Statutes, the
Connecticut Unfair Trade Prac’rices Act endfor rhe Fair I)ebt Coliection ,Practices Act.

As a result of its acts, or emissions to act, the Dei`endant is liable to the Piaintift` pursuant
to Connecticui Generai Statutes, the Connecticut Uni`air Trade Practices Act and!oi' the
Fair Debt Coliection Practices Act.

Case 3:1O-CV-01962-SRU Document 1 Filed 12/13/10 Page 9 of 22

SECONI) COUN'I`

l6. Paxagyaphs i~l 5 of tile Fi:cst Connt ore hereby incorporated as Paragraphs l~l$ of the
Second Count as though Stated in full.

17. The conduct of the l`)ei`cndant alleged in paragraph 7 of this count constituted an

' intentional and Wanton violation of the Plaintiffs’ rights or was done with a reckless
indifference to those rights in that the Defendant knew that its representations and
omissions were false end misleading or was recklessly indifferent to their truth or

completeness end that its threats and implications that the creditor Would sue the PleintiH
were ndthoot reasonable justification or excuse

Case 3:10--CV-01962-SRU Docoment 1_ Filed 12/13/10 Page 10 of_ 22

WHEREPORE, the Plaintiffs claim:

l.

5'-“.\":“"$'“‘§‘~’

Actuai Money damages, pursuant to C.G.S. § 42~110§(3) in the amount of $5,000.00
or more, exclusive of interest end cos"cs;

.Asoe:iainable loss;

Punjtive damages pursuant to C.G.S. § 42-110g{a);

Statutory damages;

Attomeys fees and costs, pursuant to C.G.S. § 42-110§(<1) and
Such other relief as the Court may find in law or equity

THE PLAINTIPFS
lenold end Barbara Metcoff

By:

 

mss§sh/Rose ososmf
Consu:mer Legai Services, L
29 Soundview Road, Suite 1 lB
Guilford, C"l` 06437

Tel: 203~458‘-8200

Fax: 203-733~1062

Ju:cis No.: 43 0221

    

!NECTIGUT MAR$H AL
AR'I’F'ORD COUNTY

Case 3:1O-CV-01962-SRU Documentl Filed_12/13/1O Page 11 of 22

RETURN DATE: IANUARY ll, 2016 ; SUPERIOR COURT

ME'I`COFF, JERROLD AND BARBARA ; J. D. OF LITCHFIELD
A'I` LITCHFIELD

V.

NOV`E.MBER 17, 2010
GC SERVICES LIMITED PARTNBRSHIP

STATEMENT RE: AMOUNT IN I_[_)_EMAND

The Plaintiffs in the above captioned matter claim an amount in excess of $2,500-00
against tire Defendant.

THE PLAINTIFPS
Jerrold and Barbara Metcoff`

By:

 

THE`RESAKOSE `DEGRAY©
Consumer Legal Scrvices, L C
29 Souodview Road, Soite 1113
Guilford, C'£` 0643?

Tel: 203»458-8200

Fax: 203-738~1062

Ju:ris N`o.: 430221

 

Case 3:1O-CV-01962-SRU Documentl Filed12/13/1O Page 12 of 22 -

 

 

Case 3:1O-CV-01962-SRU Document 1 Filed 12/13/10 Page 13 of 22

11-17-09 at 5147 pm
Hi Mr. Metcoff,

`§his is {garbled} calling from GC Services here at my oflices in lacksonville, I-'lorida, a debt collection
zagerzc\l4 Need you to give me a call upon receiving this message Very important {G:arbled). Ca!l me at
877-710»80{)1, ext. 7497. lt is important Thanl< you.

 

Case 3:1O-CV-01962-SRU Document 1 Filed 12/13/10 Page 14 of 22

 

Case 3:1O-CV-01962-SRU Document 1 Filed 12/13/10 Page 15 of 22

RETURN DATE: January 11, 2011

JERROLD METCOFF and
BARBARA METCOFF

V.

GC SERVlCES L|MITED FARTNERSHlP

JUDlClAL DlSTRlCT OF
l_iTCHFlELD

AT LlTCHFlELD

DECEMBER , 2010

NOTICE TO STATE COURT OF FlLlNG OF NOT|CE OF RENIOVAL

PLEASE TAKE NOTICE THAT, on Docembof , 2010, the defendant GC

Servioos limited Partnership (“Dotendant”), through its undersigned oounsel, filed in

the Uoited States Distriot Cour‘l for the Distriot of Conneotlcut, a Notioe of Romoval in

the above~oaptioned motion V\lith this flling, this action now stands removed from

the Superlor Court for the dudioial Distrlct of Litohtle!d at l_ilohfield to the Unltod

Statos Dislrlot Court for the Distrlct of Conheotlcut. A Copy of the N`ot`:oe of Romoval

is attached hereto as Exhlbit A.

PLEASE TAKE FURTHER NOTICE THAT a copy of the Notioe of Removal is

being filed W`lth the Clerk of the Suporlor Court for the Judicial Dlstrlct of Litchfleld at

Litchfleld.

Case 3:10-CV-01962-SRU Document 1 Filed 12/13/10 Page 16 of 22

, Datod at Brldgeport, Cooneoticut this day of December_ 2010.

DEFENDANT GC SERV!CES
Lll\illTED PARTNERSHIP

By:
Jonathan D. Elliot

 

ZELDES, NEEDLE & COOPER, P.C_
1000 Lafayette Boulevard

P.O. Box 1740

Br`\dgeport, CT 06601~1740

Te|: (203) 333~9441

Fax: (203) 333-1489

doris No. 69695

Email: jelllot@zoc|aw.oom

lts Attomeys

Case 3:10-CV-01962-SRU Document 1 Filed 12/13/10 Page 17 of 22

CERT|F|CAT|ON

Thls is to certify that a copy of the foregoing has been sent via U.S. l\/Iall first-
class maii, postage prepaid on this date, to:

Theresa Rose DeGr‘ay, Attomey
Consumer legal Servioes, LLC
29 Soundvlew Road

Suite 113

Guiltord, CT 06437

Dated at Bridgoport, Conneoticut on this day of Docember , 2010.

 

Jonathah D. El!iot

Case 3:1O-CV-01962-SRU Document 1 Filed 12/13/10 Page 18 of 22

 

Case 3:1O-cV-01962-SRU Document 1 Filed 12/13/10 Page 19 of 22

UNiTED ST/-\TES DiSTRiCT COURT

 

DiSTRiCT OF CONNECTICUT
JERROLD METCOFF AND : ClViL ACT|ON NO.
BARBARA METCOFF
Piaintiffs
V.

GC SERV!CES Lli\/iiTED F’ARTNERSHH£’

perendam § oEcEMBER , 2010

 

NOTICE OF REMOVAL

PLEASE TAKE NOTiCE `i'|-iAT, pursuant to 28 U.S.C. 1331, 1441 and 1446,
the defendant1 GC Services l_imiteci Partnership, (“Defendant"), through its
undersigned counsei, Zeides, Needie & Cooper, P.C., hereby gives notice of
removai of this case to this Court from the Connecticut Superiozr Court for the
Judicia| District of Litchtie|d at Litchiie|d in Which this action is now pending The
Deiendant appears solely for the purpose of removal and for no other purpose,
reserving ali defenses available to it. in support of this petition, the Detendant
represents as foliows:

1. An action Was commenced against the Defendant in the Supericr
Court for the State of Connecticut in and for the Judicia| District cf Litchfie!d at

Litchiieid, entitled Jerrc|d and Barbara i\/letcotf v. GC Services i_imited Partnership,

Case 3:1O-cV-0196.2-SRU Document 1 Filed 12/13/10 Page 20 of 22

bearing a return date of January 11, 2011. A copy of the summons and complaint
received by Defendant is attached hereto as Exhibit A.

2. The complaint is dated November 16, 2010. The complaint Was
served upon the Defendant’s statutory agent for service, CT Corporation, on
Novern_ber 17, 2010. Rernovai of this action is therefore timely under 28 U_S.C. §
1448(b). To the best of Defendant’s knowledge1 there have been no other motions
or papers filed With the Superior Court.

3. in the complaint in the above»described action, Piaintiff has claimed
that Defendant violated the Fair Debt Coiieoticn Practices Act (“FDCPA”), 15 U.S.C._
§ 1892

4. This case is removable pursuant to 28 U.S.C. § 144t(a) and (b), since
the Piaintii'f’s compiaint alleges a violation of federal law.

5. `l`he case is removable pursuant to 28 U.S.C. § 1441(a) and (b) since
the United States District Ccurt has federal question jurisdiction over this action
pursuant to 28 U.S.C. § 1331.

6. As required by 28 U.S.C. § 1446(d), the Deiendant vviil give notice of
the filing of this notice to the Piaintift and to the clerk of the Superior Court in and for
the Judiciat District of Litchfie|d at Litchiie|d, vvhere the action is now pending A
copy of the Notice to State Court of Filing of Notice of Rernoval is attached as

Exhibit B,

Case 3:10-cV-01962-SRU Document 1 Filed 12/13/10 Page 21 of 22

VVHEREFORE, the Defendant respectfully requests that the above action now
pending against it in the Superior Court ot Connecticut, Judicia| District of Litchtield

at t_itchfieid, be removed therefrom to this Court.

DEFENDANT GC SERVICES
Lii\f|i`i`ED PARTNERSHlP

ibm

Jonathan D. Eliiot (ct05762)

ZELDES, NEEDLE & COOPER, P.Cr
1000 i_afayette Bouievard

P.O. Box 1740

Bridgeport, CT 06601-1740

Tel: (203) 333-9441

Fax: (203) 333~1489

Ernaii: jeiliot@znciaw.com

its Attorneys

Case 3:10-cV-01962-SRU Document 1 Filed 12/13/10 Page 22 of 22

CERTiFiCATION OF SERVICE

i hereby certify that on December/} , 2010, a copy of foregoing Notice of
Remova| was filed with the court and Was sent by U.S. rnaii to;
Theresa Rose DeGray, Attorney
Consumer i_egai Services, LLC
29 Soundview Road

Suite 118
Guiiford, CT 06437

if)ated at Bridgeport, Connecticut on thisl;U`a/y of Decernber , 2010.

i~t§M`

Jonathan D. Elliot

